         Case 22-60043 Document 861 Filed in TXSB on 03/10/24 Page 1 of 2




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                         )
                                               )     Chapter 11
FREE SPEECH SYSTEMS, LLC                      )
                                               )     Case No. 22-60043
              Debtor                           )
                                              )

                              WITNESS AND EXHIBIT LIST

                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
 Main Case No: 22-60043               Name of Debtor: Free Speech Systems, LLC
 Adversary No:                        Style of Adversary:

 Witnesses:
                                                   Judge: Christopher M. Lopez
 Harold “Hap” May                                  Courtroom Deputy: Zilde Martinez
 Annie Catmull                                     Hearing Date: 3/11/24
 Each witness designated by any other party        Hearing Time: 3:00 p.m.
                                                   Party’s Name: Free Speech Systems LLC
                                                   Attorney’s Name: Annie Catmull
                                                   Attorney’s Phone:281.814.5977
                                                   Nature of Proceeding:

                                                      (1) ECF # 830 Emergency Motion of The
                                                          Law Offices of Ray Battaglia, PLLC,
                                                          to Withdraw as Counsel for Free
                                                          Speech Systems, LLC;
                                                      (2) ECF #849_Proposed Withdrawal
                                                          Order granting # 830, signed by
                                                          Movant and Debtor;
                                                      (3) ECF # 841 Motion to Seal Unredacted
                                                          Response to Motion to Withdraw as
                                                          Counsel Filed by Debtor Free Speech
                                                          Systems LLC;
                                                      (4) ECF # 835 Application to Employ
                                                          Annie Catmull and O'ConnorWechsler
                                                          PLLC as Attorneys for Debtor; and
                                                      (5) ECF # 809 Amended Emergency
                                                          Motion and Application for Entry of
                                                          an Order Authorizing the Debtor to
          Case 22-60043 Document 861 Filed in TXSB on 03/10/24 Page 2 of 2




                                                      Retain and Employ Harold Hap May,
                                                      PC as Co-Counsel (proposed order at
                                                      ECF # 810)

                                         EXHIBITS
Ex.                Description              Offered     Objection    Admitted/    Disposition
 #                                                                     Not
                                                                     Admitted
      1. Hap May CV
      2. Hap May Declaration
      3. Hap May Engagement Letter
      4. OWPLLC CV
      5. Catmull Declaration
      6. OWPLLC/FSS Engagement Letter

          DATED: March 10, 2024.

                                          Respectfully submitted,

                                          O’CONNORWECHSLER PLLC
                                          By: /s/ Annie Catmull
                                          Annie E. Catmull
                                          State Bar No. 00794932
                                          aecatmull@o-w-law.com
                                          Kathleen A. O’Connor
                                          State Bar. No. 00793468
                                          4400 Post Oak Plaza, Suite 2360
                                          Houston, Texas 77027
                                          Telephone: (281) 814-5977

                                          PROPOSED COUNSEL FOR FREE SPEECH
                                          SOLUTIONS, LLC

                                       Certificate of Service
                I certify that on March 10, 2023, the attached was served via the Court’s ECF
notification system to all parties who have appeared in this case.
                                              By: /s/ Annie Catmull
                                              Annie E. Catmull
